Case 3:17-cv-01104-VLB Document 82-28 Filed 05/15/19 Page 1 of 2




                  Exhibit 29
Case 3:17-cv-01104-VLB Document 82-28 Filed 05/15/19 Page 2 of 2



                                                           YALE UNIVERSITY
                                                     NEW HAVEN, CONNECTICUT



                                               At the last meeting of the Corporation it was
                                                voted to make the following appointment:


                                                            Rcnppointmcnl

                                                        Spanish and Portuguese


                                                Susan Byrne ns Assistant Professor, from
                                                July 1~ 2012 through June 30, 2015.




                                                May 24, 2011




                                                  VICE PRESIDENT AND SECRETARY
             • INITIAL DISCOVERY PROTOCOLS                                            P2100
